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Michael J Brosnahan
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mtk63@h0tmail.c0m WONA
(928) 300-6030 BY DEPUTYJ
UNITED STATES DISTRICT C-OURT
DISTRICT OF ARIZONA
No. CV-l6-08277-PCT-DLR
Real Party In Interest:
MICHAEL J BROSNAHAN
Consumer Claimant
Plaintiff, RESPONSE TO DEFENDANT’S
MOTION TO DISMISS SECOND
V_ AMENDED COMPLAINT
(ORAL ARGUMENT REQUESTED) f

AND/OR Real Party(s) In Interest:

Defendants.

 

 

 

Plaintiff Michael J Brosnahan, natural person,"Consumer" as defined by 125 USC
l692a(3)(4), and Principal, exercising his private right of action 15 U.S.C. § li6§2k, not
Waiving any »rights, Without prejudice, in this CIVIL ACTION pursuant to liair Debt
Collection Practices Act 15 U.S.C. § 1692, Truth in Lending Act (TILA), 15 U.S.C. 1601
et seq and Real Estate Settlement Practices Act (RESPA) 12 U.S.C. §2605 et seq. and
F ederal Question 28 U.S.C. § 1331. Consumer/Principal/Plaintiff hereby incorporates by
reference all facts set forth in Plaintiff‘s Complaint, First Amended Complaint (“FAC”)
Second Amended Complaint (“SAC”) and Plaintiff‘s Response, including all defined
terms contained therein. On and for the record and for my appeal if necessary,. Consumer
hereby respectfully submits his Response to Defendants’ Motion to Dismiss and states as
folloWs: d l 7 v y

PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
SECOND AMENDED COMPLAINT

 

 

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With all due respect, Plaintiff objects to the Defendants motion as it appears to
have been filed in bad faith in an attempt to pre litigate and Prejudice the court against the
Consumers' legitimate claim and have no bearing on the F ederal Question 28 U.S.C. §
1331 before the court. 28 U.S. Code § 2072

It is difficult to comprehend the basis of Defendant’s Motion To Dismiss Plaintiffs
Second Amended Complaint, as the tone is unprofessional and appears to mock the
consumer’s legitimate claim. The Consumer protection laws are not some "Nebulous
Theory" they are unambiguous in that no interpretation is required or allowed and no
stonewalling the rescission can be accomplished by merely announcing a dispute with
statutory TILA rescission on ANY grounds.

Plaintiff objects to Defendants' motion as it is filled with legalese, terms no laymen
will understand and used words that have different meanings in law than in the layman
sense, ONLY the laymen meaning of the words should be used with the Consumer.

Plaintiff objects to the unfair advantage for Defendants, it is obvious in that
condition alone. A Consumer layman is NOT required to know legal definitions. Plain
Writing Act of 2010.

Plaintiff objects to Defendants Documents and again hereby questions the
authenticity and/or authority of all signatures by any and all parties. Plaintiff hereby
questions the authenticity and/or authority of all documents, agreements, contracts, notes,
and/or the like by any and all parties. Plaintiff objects to the notary(s) signing documents
for Defendants’ ens legis are actually employees of Def`endants’ corporations and have
unlawfully notarized documents for their employers without firsthand knowledge and are
hearsay. All documents allegedly "Verified" (See defense motion and perjurious
"Verification" dated November 01,2017) or notarized by employees are void ab intio and
may only be considered by this Court as evidences of their crimes and NEVER as valid
documents The Federal Court should not tolerate an utterly frivolous motion such as this

by a party who does not wish to have its unlawful and illegal activities exposed in open

Court.

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Plaintiff objects to Defendants motion as it is misleading and purjurous. Plaintiff
objects to Defendants motion and categorically denies any and all allegations,
assumptions, and presumptions in the defendants baseless and frivolous “Motion To
Dismiss Plaintiffs Second Amended Complain ”.

JUDICIAL NOTICE

Although this is a Civil case Plaintiff asks the court to note the defendants
actions also may be criminal in nature.

28 U.S. Code § 2072 - Rules of procedure and evidence; power to prescribe

Federal Question 28 U.S.C. § 1331

Fair Debt Collection Practices Act 15 U.S.C. § 1692

Truth in Lending Act (TILA) 15 U.S.C. § 1601 et seq

Helping Families Save Their Homes Act of 2009

Public Law 111 - 274 - Plain Writing Act of 2010

FTC 16 C.F.R. § 433, (“Holder” Rule)

28 U.S. Code § 1251 28 U.S.C. § 1345 Injunctions Against Fraud

United States of America Constitution Article III section II

Supremacy Clause of the United States Constitution, Article VI, paragraph 2

SCOTUS unanimous decision January 13, 2015 Jesinoski v. Countrywide

Home Loans, Inc., 2015 WL 144681 .

Plaintiff respectfully requests the Court take notice of the Well-pleaded allegations
and Facts now in evidence of the Consumer Plaintiff’ s complaint, and must accept as true
at this juncture of the proceedings, and which, in light of the Plaintiff" s pro se status, the
Court must hold to a less stringent standard than formal pleadings drafted by an attorney
and construe liberally. See Haines v. Kerner, 404 U.S. 519, 520, 92 S.Ct_. 594, 596, 30
L.Ed. 2d 652 (1972).

I. STATEMENT OF FACTS

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs

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as if more fully set forth herein below.

At all relevant times, Defendants Caliber Home Loans Inc., LSF9 Master
Participation Trust, and Summit Services and Realty LLC (collectively “Defendants”) and
its agents are in fact a "Debt Collector" as defined under the FDCPA. 15 U.S.C. §
1692a(6). Defendants have acted and continue to act recklessly or knowingly and commit
the acts, cause or direct others to commit the acts, or permit others to commit the acts
alleged in this matter. Any allegations about the acts of the Corporations means those acts
were committed through their officers, directors, employees, agents, and/or
representatives while those individuals were acting within the actual or implied scope of
their authority.

To be clear, collectively “Defendants” jointly or separately are like a "snake eating
its tail" hidden from the Consumer and Federal Court in a self contained Lone Star
corporate conglomerate, built on a well oiled "foreclosure mill". see Defendants
"Corporate Disclosure Statement"

Plaintiff Mr. Brosnahan, Asserts The Following Facts Now In Evidence:

1. Mr. Brosnahan and his family have owned the home for 24 years since February 02
1993, his principle dwelling unique real property, used primarily for personal, family,
or household purposes and made timely payments.

2. In December 2008 Consumer was mislead when solicited by Countrywide to stop his
timely payments for at least three months to secure a better interest rate.

3. Consumer on or about May 15, 2009 sent pursuant to TILA a Rescission well Within
the three year time limit of the alleged original loan being consummated on May 25
w and recorded May 31 2006.

4. The rescission is ALWAYS effective upon mailing. Based upon the express Wording
of the statute 15 U.S.C_. 163 5, and the unanimous ruling from SCOTUS that the
statute’s wording is clear and thus permits no interpretation, and the ruling of
SCOTUS that the statute is procedural, and simple logic.

5. Plaintiff objects to Defendants deceptive attempt to again mislead this Federal Court

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and Consumer that the alleged loan Was somehow consummated earlier on a
meaningless document prepared on 01/24/2006 that clearly states "(This Is Neither
A Contract Nor Or A Commitment To Lend)" (emphasis defendants document

page 22 Of 25 Exhibic "A")

. Plaintiff objects to Defendants deceptive attempt to again mislead this Federal Court

and Consumer with a meaningless document that clearly states "(This Is N either A
Contract N or Or A Commitment To Lend)" (emphasis defendants document)
page 23, 24, 25 and all unsigned and dated May 10, 2006. See defendants "Exhibit
A" attached to MOTION TO DISMISS "SAC".

. Plaintiff objects to Defendants deceptive attempt to mislead this Federal Court and

Plaintiff by submitting a bogus Verification from a one: "Default Service Of`ficer
Nathan Masnsi Caliber Home Loans Inc." stating: "I have read the Motion to Dismiss
Plaintiffs First Amended complaint dated November 01,20] 7... the facts there in are
not all within mv personal knowledge ...but have been assembled by authorized
representatives (UnidentijiecD and counsel (also Unidentified) ...l am informed and

believe the facts therein are true based (UnidentifiecD on the business records

(Unidentified)... under penalty of perjury... " (Emphasis added)

. Plaintiff objects to Defendants "Verification" the ambiguous nature of it

notwithstanding this is in fact the Motion to Dismiss Plaintiffs Second Amended.
Demonstrating and proving once again to the Federal Court and Consumer that
Caliber employees will sign and verify and attest to anything that is put in front

of them without reading or understanding the content or ramifications

. Plaintiff objects and demands the veracity of all signatures, accounting, alleged

"business records" and any "Affidavits" put forth by any of the Defendants by now is

in question in this case and must be disallowed and stricken from the record.

10.Plaintiff objects to Defendants disingenuous motion and deception. This Federal

Court should summarily not grant Defendants motion and motion should be stricken

from the record and a default judgment be entered in favor of the Plaintiff.

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ll.After Notice by the Consumer, Defendants jointly or separately have no lawful
explanation of why they are attempting "To Collect A Debt" (emphasis defendants,
see plaintiffs exhibit l) that has been rescinded in May 15, 2009. See Plaintiff
"Exhibit 4" TILA 2009 Resection Letter.

12.Pursuant to TILA Rescission is an EVENT. lt is a FACT not a claim requiring
adjudication in the court and not subject to Defendants legalese explanations of why
they think that they can set aside a unanimous SCOTUS decision in an attempt to
achieve ill-gotten gains "collecting a deb ."

13. Consumer rescission was effected on the above date and the Defendants continue to
ignore that fact and prosecute claims in an "attempt to collect a debt" (emphasis
defendants, see plaintiffs exhibit l) through an unlawful non-judicial foreclosure
under a canceled loan contract and void note and mortgage.

]4. Plaintiff objects to Defendants condescending tone asserting "Plaintijf apparently
now claims he unilaterally rescinded... " see line]2 page ll "MTDSAC" also see page
5 court,order 11-23-2016 "]. During the hearing, Brosnahan argued that his original
lender had violated the T ruth in Lending Act (TILA), that he rescinded his loan in
2009, and that, as a result, no debt is owed on the Property. "

15. Consumer has diligently and consistently acted in good faith and lawfully noticed the
Federal Court, all relevant Authorities, Agencies and Defendants' jointly or separately
to enforce his rights as a consumer since January 2009.

16.Plaintiff objects to Defendants' jointly or separately, attempt to escape justice by
simply saying "Caliber was not involved in originating Plaintijf’s 2006 loan-it had
no involvement until 2016." while seeking to enforce a non judicial foreclosure.

17 ,Plaintiff objects to Defendants jointly or scparatcly, as they can nc longer claim
"plausible deniability" must accept the full "Moral Hazard" of their unlawful actions
in acquiring alleged debt to Enforcement of a Non-judicial foreclosures "To Collect
A Debt" (emphasis defendants, see plaintiffs exhibit l) as they were legally and
lawfully noticed .

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18. Plaintiff objects to Defendants' jointly or separately, as the history of the many
irregularities and of false and forged documents were disclosed by Consumer in good
faith, including the 2009 TILA rescission disclosed to Defendant's Lead Counsel in
our pre-trial meeting on December 27 , 2016 and also disclosed in a letter to Caliber
dated June 27, 2016.

l9.Non-judicial foreclosures require the purported power of sale clause to be a lawful
agreement, which in this case it was not.

20. It is now self evident to any reasonable person, the alleged debt and subsequent
fabricated false and/or forged documents have knowingly passed since 2009, without
ever being validated, from one company to the next in an attempt by Defendants'
jointly or separately, to conceal material facts and evidence.

21.Plaintiff objects that Defendants' jointly or separately, willfully ignored lawful notice
of TILA rescission May 15, 2009 and continued to attempt to collect alleged debt. .

22. That Defendants' jointly or separately, allege they have acquired an "interest" in a
"DOT" and now assert they have a clear chain of title with the recording of fabricated
false and/or forged documents into a public office and into this court; Quite frankly, it
is clear the alleged Assignments were not executed correctly in the ordinary course of
business, as required by law. See Plaintiffs‘ Exhibits 1-8

23. That none of the above-mentioned entities, Defendants' jointly or separately, (i.e.,
Debt Collectors) are the true Creditor or Holder in Due Course of the alleged note and
debt in question to enforce a non judicial foreclosure.

24. Defendants' jointly or separately, allege they have acquired an "interest" in a loan that
has been rescinded in May of 2009 and precludes them any enforcement of a non
judicial foreclosure

25.Plaintiff objects Defendants' jointly or separately, can’t use a robo-Defendants or
robo-Beneficiary to press the case because that would mean that the rescinded loan

closing documents were being used for the purpose of establishing the presumption of

legal standing.

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26. Plaintiff objects Defendants' jointly or separately, pursuant to RESPA did not respond
in a timely manner to consumers "Written Qualifled Request" and attempted to
mislead Consumer in their eventual response. See plaintiff exhibit 2

27 . Consumer has received numerous unsolicited correspondences in violation of 15 _
USC § l6920(a), from Defendants' jointly or separately, clearly stating they are a
"debt collector" as required by the FDCPA yet now allege they are not "debt
collector" before this Court. See: Wilson v, Draper & Goldberg, P.L.L.C., 2006 U.S.
App. LEXIS 8243 (4th Cir. April 5, 2006) the court dismissed Draper's argument that 7
it was a debt collector only under certain provisions of the Act, concluding that once a 7
party meets the statutory definition of debt collector, it is subject to the Act in its
entirety.

28.This matter arises out of Defendants’ unlawful communication to the Consumer
pursuant to 15 USC§16920(a) and the commencement of a non-judicial
foreclosure proceeding against Consumer absent the required documentation
pursuant to 15 U.S.C. §1692e(2) §1692f` 6(a) and in lieu of said documentation,
Defendants used perjurious statements and claim to conceal the Facts that neither 1
Defendant nor Defendant’s ens legis has no Legal and/or Lawful Right to
commence the non-judicial foreclosure proceeding in attempt to collect a debt.

29. Plaintiff objects to Defendants allege they and not subject to, Conditions Precedent
not met in contact law. The Deed of Trust is explicit in paragraph 22 that 7
"Acceleration,' Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower’s breach of any covenant or agreement in this Security"
Instrument (emphasis added) Defendants failed to meet Conditions Precedent
pursuant to DOTr See: Conditions Precedent Not Met - 2011 CA US District Court -
Paik v Wells Fargo

30.Plaintiff objects to Defendants as the legitimacy of the Assignments is very much in '
question. 28 U.S. Code § 2072 Defendants allege there is a clear chain of title. Quite
frankly, it is clear the alleged Assignments Were not executed correctly in the ordinary ’

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course of business, as required by law and defendants clouded the title in an attempt
to "push throu " this unlawful mortgage foreclosure.

31.Plaintiff objects the exhibits are "hearsay” and inadmissible as evidence in this Court.
The veracity of accounting and the Affidavit by now is in question. Defendants and
its agents continue to trespass and harass Consumer. See DAVID KESTER V.
CITIMORTGAGE, INC. j 9th Cir ~ “the recording of false or fraudulent documents
that assert an interest in a property may cloud the property’s title” September 29,
2017.

32.Plaintiff objects as Defendants breached their fiduciary duty and ignored their Due
diligences in acquiring the alleged loan. Defendants are attempting to mislead the
Consumer and the Federal Court and now blame the Victim Mr. Brosnahan for their
malfeasance. There is no clear chain of title, Defendants have no standing and are
unable to enforce, therefore are nothing more than a "debt collector" as defined in
FDCPA.

33.Pursuant to F.R.Civ.P. Rule 8(b)(6) and/or all allegations and/or claims made by
Plaintiff MUST be accepted as true by this Court unless said allegations and/or claims
are rebutted with a preponderance of the evidence by Defendant. Any and all such
avowries and/or averments presented by Defendant must be done under penalty of
perjury. see defendants bogus "Verification" and plaintiffs exhibits 1-8

' ALL of Defendant’s counsel’s pleadings, motions, Judicial Notice, tainted documents

and/or the like MUST be stricken from this Court’s record. see defendants bogus

"Verification" dated 01-11-2017 and plaintiffs exhibits 1-8
II. STANDARD OF REVIEW

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as
if more fully set forth herein below.

35. Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement of
the claim showing that the pleader is entitled to relief,” in order to “give the defendant

fair notice of what the claim is and the grounds upon which it rests.” Bell Atlantic

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Corp. v. Twombly, 550 U.S. 544, 555 (2007), quoting Conley v. Gibson, 355 U.S. 41,
47 (1957). “[A] complaint attacked by a Rule 12(b)(6) motion to dismiss does not
need detailed factual allegations.”`l`d. At 555 ."‘[W]e do not require heightened fact
pleading of specifics, but only enough facts to state a claim to relief that is plausible
on its face.” Id. At 570.

36. The complaint must only include “sufficient factual allegations to provide the
grounds on which the claim rests”. Friends of Lake View School District v. Beebe,
578 F.3d 753, 762 (8th Cir. 2009). While “mere labels and conclusions” will not
satisfy a plaintiff’s burden, there is no need for detailed factual allegation or specific
facts that describe the evidence to be presented. Id. A plaintiff satisfies their burden if
they allege facts sufficient to allow a court to infer “more than the mere possibility of
misconduct”. Ashcroft v. Iqbql, 129 W.Ct. 1937, 19_50 (2009).

37. Well-pleaded allegations of fact and every inference fairly deducible there from are
accepted as true for purposes of a motion to dismiss. See: Erickson v. Pardus, 551
U.S. 89, 93-94 (2007). “[A] well-pleaded complaint may proceed even if it strikes a
savvy judge that actual proof of those facts is improbable, and “that recovery is very
remote and unlikely.” Twombly, 550 U.S. at 556.

III. ARGUMENTS AND AU'I`HORITIES

Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs
as if more fully set forth herein below.

38. “When considering Defendant’s motion, the court must construe the factual
allegations in the complaint in the light most favorable to the plaintiff.” In re Stac
Elecs. Sec. Litig., 89 F.3d 1399, 1403 (9th Sir. 1996): Jones v. General Elec. Co., 87
F.3d 209, 211 (7th Cir. 1996). “Only if no possible construction of the alleged facts
Will entitle plaintiff to relief should the court grant defendant’s motion.” Hishon v.
King & Spaulding, 467 U.S. 69, 73, 104 S. Ct. 2229, 2232 (1984). If the factual

allegations in plaintiffs complaint support any legal theory that entitles plaintiff to

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some relief, the court should overrule defendant’s motion to dismiss.

A. FDCPA , RESPA,TILA , IMPOSE A STRICT LIABILITY STANDARD.

39. "Nothing in our jurisprudence, and no tool of statutory interpretation, requires that a
congressional Act must be construed as implementing its closest common-law
analogue. Cf. Astoria Fed. Sav. & Loan Assn. v. Solimino,501 U. S. 104, 108-
109_ (1991). The clear import of §1635(a) is that a borrower need only provide written
notice to a lender in order to exercise his right to rescind." See SCOTUS unanimous
decision January 13, 2015 (Jesinoski v. Countrywide Home Loans, Inc., 2015 WL
14468] ).

40.The whole purpose of the statute is to allow the homeowner to wipe out the deal
without going to a lawyer much less filing a lawsuit. Rescission is NOT a claim. lt is
an event. That much is clear from the SCOTUS decision in Jesinoski. The ruling of
SCOTUS Who says that the wording of the statute means that the rescission IS
effective upon mailing

41.The FDCPA, 15 U.S.C. § 1692, et seq., is a strict liability statute, Taylor v. Perrin,
Landry deLaunay & Durand, 103 F.3d 1232 (5th Cir. 1997): See also Irwin v.l
Mascott, 112 F. Supp. 2d 937 (N.D. Cal. 2000): Pittman v. J.J. Mac Intyre Co. of
Nevada, Inc., 969 F. Supp. 609 (D. Nev. 1997). “Because the Act imposes strict
liability, a consumer need not show intentional conduct by the debt collector to be
entitled to damages.” Russell v. Equifax A.R.S., 74 F. 3d 30, 33-34 (2nd Cir. 1996).

B. THE FDCPA MUST BE LIBERALLY CONSTRUED IN FAVOR OF
CONSUMER.

42. The FDCPA is a remedial statute. Hamilton v. United Healthcare of Louisiana, Inc.,
310 F. 3d 385, 392 (5th Cir. 2002). The remedial nature of the FDCPA requires that
courts interpret it liberally. Clark v. Capital Credit & Collection Services, Inc., 460 F.
3d 1162, 1176 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending Act
(TILA) 15 U.S.C. § 1601 et seq., is a remedial statute, it should be construed liberally

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43.

in favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1107 , 1117 (20th Cir. 2002).
Also See SCOTUS (TILA) unanimous decision January 13, 2015 Jesinoski v.
'Countrywide’Home Loans, Inc., 2015 WL 144681.

Plaintiff objects to Defendants as it is unclear why Defendants allege in their motion
that they do not have to strictly follow the FDCPA,TILA RESPA and other consumer
protection laws as it applies to them, and instead chose to ignore the facts and
willfully to break `Federal "Laws enacted by Congress and adjudicated clearly by
SCOTUS in this Federal Question 28 U.S.C. § 1331.

C. The FDCPA broadly Prohibits Unfair Or Unconscionable Collection
Methods, Conduct Which Harasses, Oppresses Or Abuses Any Consumer, And
Any False, Deceptive Or Misleading Statements, In Connection With The
Collection Of A Debt.

44. The Fair Debt Collection Practices Act, (“FDCPA”) is a comprehensive statute which

45.

prohibits a catalog of activities in connection with the collection of debt by third
person or entity that violates its provisions, and establishes general standards of debt
collector conduct, defines abuse, and provided for specific consumer rights. 15 U.S.C.
§ 1692k. The operative provisions of the FDCPA declare certain rights to be provided
to or claimed by Consumers, and forbid deceitful and misleading 'practices,7 both
generally and in a specific list of disapproved practices, and prohibit harassing and
abusive tactics both generally and in a specific list of disapproved practices.

Accordingly, the FDCPA broadly enumerates several practices considered contrary to
its stated purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitions First, a debt collector
may not engage in any conduct the natural consequence of which is to harass,
oppress, or abuse any person in connection with the collection of a debt.” 15 U.S.C. §
1692d. Second, a “debt collector may not use any false, deceptive, or misleading

representation or means in connection with the collection of any debt.” 15 U.S.C. §

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1692e. And third, a “debt collector may not use unfair or unconscionable means to
collect or attempt to collect any debt.” 15 U.S.C. § 1692f. Simply it was designed to
protect consumers from unscrupulous collectors, whether or not there exists a valid
debt, the FDCPA broadly prohibits unfair or unconscionable collection methods,
conduct which harasses, oppresses or abuses any consumer, and any false deceptive
or misleading statements, in connection with the collection of a debt. Baker v. G.C.
Services Corp., 677 F.2d 775 (9th Cir. 1982); Heintz v. Jenkins, 514 U.S`. 291 (1995); '
McCartney v. First City Bank, 970 F.2d 45 (5th Cir. 1992).

46. Validation requires presentment of the account and general ledger statement signed

and dated by the party responsible for maintaining the account. See Pacific Concrete
F.C.U. v. Kauanoe, 62 Haw. 334, 614 P. 936 (1980), GE Capital Hawaii, Inc. v.
Yonenaka 25 P. 3d 807, 96, Hawaii 32, (Hawaii App 2001), Fooks V. Norwich
Housing Authority 28 Conn. L. Rptr. 371, (Conn. Super. 2000), Town of Brookfield
v. Candlewood Shores Estates, Inc. 513 A. 2d 1218, 201 Conn. 1(1986), and Solon V.
Godbole, 163 III. App. 3d 845, 114 111. Dec. 890, 516 N.E. 2d 1045 (3Dist. 1987).
The Defendants never complied With Plaintiff’s Consumer demands for validation of
the alleged debt they were attempting to collect yet continued their collection
activities A debt collector verifies a debt by providing information that is responsive
to the consumer’s request. See H.R. Rep. No 31, 95th Cong.,` lst Sess. 5 1977. At NO
time did DEFENDANTS begin to attempt to properly validate the alleged debt as
demanded by Plaintiff.

47. Pursuant to FDCPA is a strict liability statute and “Because the Act imposes strict

liability, a Consumer need not show intentional conduct by the debt collector to be
entitled to damages”. The argument of no duty to send a verification letter fails in
light of the fact that Defendants did NOT provide validation of the alleged debt nor

did the Defendants up until the time this action Was filed.

48. Plaintiff objects to Defendants arguments made that Plaintiff has not provided all

evidence material to the allegations made in the complaint is ridiculous. Such

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evidence is to be presented at trial and is not required to be annexed to the Original
Complaint. Plaintiff again states “Federal Rule of Civil Procedure 8(a)(2) requires
only “a short and plain statement of the claim showing that the pleader is entitled to
relief,” [emphasis added] in order to “give the defendant fair notice of what the
claim is and the grounds upon Which it rests.” Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 555 (2007), quoting Conley v. Gibson, 355 U.S. 41, 47 (1957). “[A]
complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed
factual allegations.” [emphasis added] Id. At 555. “[W]e do not require heightened
fact pleading of specifics, but only enough facts to state a claim to relief that is
plausible on its face.” [emphasis added] Id. At 570.

49. Plaintiff objects to Defendants’ argument that they did not violate 15 U.S.C. § 1692d
or § 1692f is erroneous and without merit. Defendants initiated a non judicial
foreclosure against Plaintiff in an attempt to "collect a debt" from Consumer without
providing validation of Debt after a demand was made by Plaintiff to Defendants and
no validation of the alleged debt was provided to the Consumer in accordance of the
law.

50. The fact that Defendants made a faulty presumption and violated 15 U.S.C. § 1692
does not excuse them from liability under a bona fide error defense as stated in
Jerman v. Carlise, NcNellie, Rini, Dramer & Ulrich, L.P.A. 538 F.3d 469,471 (6th
Cir. 2008).

51.Plaintiff has demonstrated that actions of the Defendants' jointly or separately, have
violated FDCPA, TILA, RESPA and other consumer protection laws by their willhil
failure to state a material fact, or the Willful concealment of a material fact in their
connnencement of a non judicial foreclosure against the Plaintiff.

52.The intent of the Defendants actions was that the Plaintiff would rely on their false
and coercive statements and just “pay up” rather than exercise his rights as dictated by
the FDCPA and not bring suit against the Defendants for their violation of the

FDCPA and other consumer protection laws.

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53. The coercive deceptive nature of the actions of, and statements made to the Plaintiff
in multiple communications from Defendants' jointly or separately, identifying
themselves specifically as "Debt 'Co'llectors "' leave little doubt that Plaintiff has been
damaged with his having lost an immense amount of sleep and Was and is currently
being subjected to any manner of emotional trauma including, but not limited to, loss
of sleep, stress, humiliation, anger, fatigue, anxiety, alienation of affection and
emotional distress.

54. Defendants are acting with impunity with continued harassment and abuse of the
consumer for their unjust enrichment in clear violations of FDCPA,TILA RESPA and
other consumer protection laws and their unlawful actions continue unabated.

55 .Defendants continue to harass Consumer with threatening letters sent December 19,
2016, December 23, 2016, January 18, 2017 and now escalated the harassment of
Consumer by leaving voice mail on his personal private unlisted cell phone on
January 24, 2017 and after Debt Collector Was told to cease and desist by Consumer
and Lead Counsel for the Defendants. Defendants continue to threaten, harass, abuse
and trespass on Consumers' inalienable rights. Allegedly, the foreclosure sale date has
been postponed until when is unclear and remains eminent at this time.

56. Plaintiff has made detailed allegations with particularity with Facts and Evidence, that
the Defendants have used written representations of exaggeration and falsehood, 7
which is precisely what is required for an action to be brought under FDCPA,
TILA,RESPA and other consumer protection laws. The FDCPA is a remedial statute.
Hamilton v. United Healthcare of Louisiana, Inc., 310 F. 3d 385, 392 (5th Cir. 2002).
The remedial nature of the FDCPA requires that courts interpret it liberally. Clark v.
Capital Credit & Collection Services, Inc., 460 F. 3d 1162, 1176 (9th Cir. 2006).
“Because the FDCPA, like the Truth in Lending Act (TILA) 15 U.S.C. § 1601 et seq.,
is a remedial statute, it should be construed liberally in favor of the consumer.”
Johnson v. Riddle, 305 F. 3d 1107, 1117 (20th Cir. 2002). Also See SCOTUS

(TILA) unanimous decision January 13, 2015 Jesinoski v. Countrywide Home Loans,

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Inc., 2015 WL 144681.

57 .The veracity of the Consumer Claims and Facts in this case have been legitimized
over these eight years of Federal litigations by the: DOJ, CFPA and Attorney General
resulting with Countrywide, Bank of America, Deutsche Bank, and chen all having
multimillion dollar consent orders and Judgments against them. A Second
Superseding Federal lndictment, for Wilmington Trust. The New York Attorney

General opened an investigation into Caliber Home Loans lnc. for their abusive

practices.
V. CONCLUSION

Plaintiff has pleaded facts sufficient to allow a court, drawing on “judicial
experience and common sense”, to infer a plausible claim and “more than the mere
possibility of misconduct”, by Defendants own illicit action in this Federal Court, which
easily satisfies Plaintiff burden of pleading under the F ederal Rule of Civil Procedure, in
addition to the FDCPA ,TILA, RESPA at this stage. See Ashcroft v. Iqbal, 129 S.Ct. at
1950. Plaintiff’s claims should therefore survive dismissal.

WHEREFORE, Plaintiff respectfully requests that this Court enter an order
denying Defendants’ Motion to Dismiss. In the alternative, oral arguments requested and
if the Court determines Plaintiff has failed to state a claim, Plaintiff asks the Court to grant

leave to amend his Complaint.

RESPECTFULLY sUBi\/HTTED; This 14th Day ofM/e;é%i7.
BY:l / ,/ /,</ C_¢~e'\/,M

Co umer Cljz{mant Michael J Brosnahan,
Si cerely an signed without prejudice,

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Court, th

This 14 Day of November, 2017 ,

The Honorable Douglas L. Rayes
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Conformed COPY of the foregoing
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C nsumer ll imant Michael J Brosnahan,
Sincerely and signed without prejudice,

 

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